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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                                          CIVIL MINUTES - TRIAL

 Case No.         CV 05-8991 ODW(SSx)                                                                         Date        November 18, 2009
 Title:           Steven M. Roth v. Zurich American Insurance Company, et al.

 Present: The Honorable            Otis D. Wright II
                  Raymond Neal/Tanya Durant                                                Katie Thibodeaux (a.m.)/Leandra Amber (p.m.)
                           Deputy Clerk                                                                      Court Reporter


                Attorneys Present for Plaintiff(s):                                                Attorneys Present for Defendants:
                     M. Cohen, H. McKeon                                                                   M. Yoder, R. Wilson

                             Day Court Trial                       8th                      Day Jury Trial
           One day trial:                      st
                                    Begun (1 day);         /     Held & Continued;                  Completed by jury verdict/submitted to court.
      The Jury is impaneled and sworn.
      Opening statements made by
 /    Witnesses called, sworn and testified.          /   Exhibits Identified         /     Exhibits admitted.

      Plaintiff(s) rest.                                  Defendant(s) rest.
      Closing arguments made by                           plaintiff(s)                    defendant(s).                Court instructs jury.
      Bailiff(s) sworn.                                   Jury retires to deliberate.                                  Jury resumes deliberations.
      Jury Verdict in favor of                            plaintiff(s)                    defendant(s) is read and filed.
      Jury polled.                                        Polling waived.
      Filed Witness & Exhibit Lists                       Filed jury notes.               Filed jury instructions.
      Judgment by Court for                                                               plaintiff(s)                 defendant(s).
      Findings, Conclusions of Law & Judgment to be prepared by                           plaintiff(s)                 defendant(s).
      Case submitted.                Briefs to be filed by
      Motion to dismiss by                                                       is             granted.             denied.           submitted.
      Motion for mistrial by                                                     is             granted.             denied.           submitted.
      Motion for Judgment/Directed Verdict by                                    is             granted.             denied.           submitted.
      Settlement reached and placed on the record.
      Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.
      Counsel stipulate to the return of exhibits upon the conclusion of trial. Exhibit Release Form prepared and filed.
      Trial subpoenaed documents returned to subpoenaing party.
 /    Case continued to       Thursday, November 19, 2009 at 9:00 a.m.                        for further trial/further jury deliberation.
 /    Other:      Court GRANTS Plaintiff’s Motion In Limine #6 as noted on record. Jury Instructions finalized.
 /    Other:      Portion of transcript of Daniels deposition read into record.

                                                                                                                       6 hrs      :    50 mins

                                                                                Initials of Deputy Clerk         RGN
cc:


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